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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


MICHELE BURKE CRADDOCK,                     )
                                            )
         Plaintiff,                         )
                                            )
v.                                          )      Civil Action No. 3:16-cv-11
                                            )
LECLAIR RYAN, A PROFESSIONAL                )
CORPORATION                                 )
                                            )
         Defendant.                         )

              PLAINTIFF’S MOTION TO CONFIRM ARBITRATION AWARD

         COMES NOW Plaintiff Michele Burke Craddock (“Plaintiff” or “Craddock”), by

counsel, and pursuant to 9 U.S.C. § 9 moves this Court to lift the previously entered stay,

confirm her arbitration award, and enter judgment in her favor. A memorandum setting forth the

grounds for the relief requested accompanies this Motion.


                                            Respectfully submitted,

                                            MICHELE BURKE CRADDOCK,

                                            By: /s/ Harris D. Butler, III
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of October, 2018, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

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                            Counsel for Defendant


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